                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Arab American Action Network
                                              Plaintiff,
v.                                                            Case No.: 1:18−cv−06528
                                                              Honorable John Z. Lee
Department of Homeland Security, et al.
                                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 11, 2019:


        MINUTE entry before the Honorable John Z. Lee:Status hearing held on 7/11/19.
Plaintiff's counsel reports that he received some documents from the agency. Status
hearing set for 9/12/19 at 9:00 a.m. Mailed notice(ca, )




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